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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO

Criminal Case No. 19-mj-00025-NRN

UNITED STATES OF AMERICA,

               Plaintiff,

v.

LEONARD L. LUTON,

               Defendant.


                WRIT OF HABEAS CORPUS AD PROSEQUENDUM


       TO THE UNITED STATES MARSHAL FOR THE DISTRICT OF

COLORADO, OR TO ANY OTHER UNITED STATES MARSHAL, AND TO ANY

AUTHORIZED OFFICER IN WHOSE CUSTODY THE DEFENDANT MAY BE

HELD:

       This Writ is issued upon Order of the United States District Court for the District

of Colorado.    I hereby command that you bring the body of LEONARD LUTON, YOB:

1976, Jail ID P-40936, defendant herein, now being confined in the Larimer County Jail,

2405 Midpoint Dr, Fort Collins, CO 80525, before a United States Magistrate Judge,

sitting at Denver, Colorado, forthwith, to appear for an initial appearance and to hold the

defendant at all times in your custody as an agent of the United States of America; that

immediately after the conclusion of these proceedings in the United States District Court

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for the District of Colorado, you shall return the defendant to the institution where he was

confined.



       DATED at Denver, Colorado, this                  day of                      , 2019.



                                   BY THE COURT:




                                   CLERK, UNITED STATES DISTRICT COURT




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